               Case 23-10831-MFW               Doc 979-4        Filed 02/14/24        Page 1 of 2




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                      Chapter 11

LORDSTOWN MOTORS CORP., et al.,1                            Case No. 23-10831 (MFW)

                        Debtors.                            (Jointly Administered)


        DECLARATION OF ROBERT WINNING REGARDING FOURTH MONTHLY
    APPLICATION OF M3 ADVISORY PARTNERS, LP AS FINANCIAL ADVISOR TO THE
    OFFICIAL COMMITTEE OF EQUITY SECURITY HOLDERS, FOR ALLOWANCE OF
    COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
                 DECEMBER 1, 2023 THROUGH DECEMBER 31, 2023

I, Robert Winning, hereby declare as follows:


             1. I am a managing director in the applicant firm of M3 Advisory Partners,

    LP (“M3 Partners”).

             2.       I have personally performed many of the services rendered by M3

    Partners, as financial advisor to Official Equity Committee appointed in the above

    referenced case (the “Committee”), and am generally familiar with all other work

    performed on behalf of the Committee by the professionals in the firm.

             3.       The facts set forth in the foregoing Application are true and correct to

    the best of my knowledge, information, and belief. Moreover, I have reviewed the

    requirements of Rule 2016-2 of the Local Rules of Bankruptcy Practice and Procedure

    of the United States Bankruptcy Court for the District of Delaware and submit that the

    Application complies with such requirements.



1
 The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp.
(3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is
27000 Hills Tech Ct., Farmington Hills, MI 48331.
    Case 23-10831-MFW          Doc 979-4      Filed 02/14/24     Page 2 of 2




   4.     I declare under penalty of perjury that the foregoing is true and correct.

Dated: February 14, 2024             M3 ADVISORY PARTNERS, LP

                                     /s/ Robert Winning
                                     Robert Winning
                                     Managing Director, M3 Advisory Partners, LP
